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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §          CASE NO. 5:12CR26(1)
                                                    §          (Judge Schneider)
 JULIA ANN TRUSTY                                   §


               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On January 30, 2013, this cause came before the undersigned United States Magistrate Judge

 for guilty plea and allocution of the Defendant on Count One of the Indictment. Count One charges

 a violation of 18 U.S.C. § 1708. After conducting said proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the Court finds:

          a.      That the Defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge subject to a final approval and imposition of sentence by the District

 Court.

          b.      That the Defendant and the Government have entered into a plea agreement which

 has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2).

          c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

 each of the essential elements of the offense.
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        d.      Parties advised that within fourteen (14) days after receipt of the magistrate judge’s

 report, any party may serve and file written objections to the findings and recommendations of the

 undersigned. Parties waived objections.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

 and the Guilty Plea of the Defendant, and that JULIA ANN TRUSTY should be finally adjudged

 guilty of the offense listed above.

       SIGNED this 30th day of January, 2013.




                                                      ____________________________________
                                                      CAROLINE M. CRAVEN
                                                      UNITED STATES MAGISTRATE JUDGE




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